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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

VICTORIA WINN and THADDEAUS WINN,
individually and as parents and natural guardians
of their minor child, RAFE WINN,

       Plaintiffs,

vs.                                                           No. 14-cv-1113 JAP/SMV

CARLSBAD MEDICAL CENTER LLC,
ON-LINE RADIOLOGY MEDICAL GROUP INC.,
and PECOS VALLEY OF NEW MEXICO, LLC

       Defendants.


                                    ORDER OF DISMISSAL

       In accordance with the ORDER APPROVING CONFIDENTIAL MINOR

SETTLEMENT entered herewith, the Court finds that the proposed settlement is fair, just and

equitable to all parties, including the minor child, and dismisses Plaintiffs’ claims and all cross

claims with prejudice.




                                           SENIOR UNITED STATES DISTRICT JUDGE
